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 5    Attorneys for Freedom Mortgage Corporation
      [File No. 18002791]
 6

 7
                          UNITED STATES BANKRUPTCY COURT
 8
                            FOR THE DISTRICT OF ARIZONA
 9
      In re                                             Case No. 2:18-bk-05419-DPC
10
      Elaine Nicole Lewis,                              Chapter 7
11
      Debtor.
12
      Freedom Mortgage Corporation,
13                                                      MOTION FOR RELIEF FROM
                                                        AUTOMATIC     STAY   (REAL
      Movant,                                           PROPERTY) AND ABANDONMENT
14                                                      OF ESTATE PROPERTY
      vs.
15                                                                  PROPERTY:
      Elaine Nicole Lewis, Debtor and Birdsell,         11744 W. Villa Hermosa Lane, Sun City,
16    David A., Trustee,                                              AZ 85373
17    Respondents.                                      Hearing: [TBD pursuant to LBR 4001-1(i)]
18

19            Freedom Mortgage Corporation, ("MOVANT"), through undersigned counsel,

20 moves this Court for an Order granting relief from the automatic stay of 11 U.S.C. § 362,

21 abandonment of estate property pursuant to 11 U.S.C. §554 and any other limitations

22 against lien enforcement against the property, rents, issues, and profits of Elaine Nicole

23
     Lewis ("Debtor"); or, in the alternative, conditioning the use, sale, or lease of such
     property, rents, issues, or profits as is necessary to provide MOVANT with adequate
24
     protection of its secured interest in certain real property. This court has jurisdiction of
25
     this matter under 28 U.S.C. §157(b)(2)(G). This is a core proceeding pursuant to 28
26
     U.S.C. §157(b)(2)(G) and §362. The filing of this Motion commences a contested matter
27
     within the meaning of Fed. R. Bankr. P. 9014.
28
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1
            This Motion is supported by the following Memorandum of Points and
2
     Authorities.
3
                      MEMORANDUM OF POINTS AND AUTHORITIES
4                        FACTUAL AND PROCEDURAL SUMMARY
5           1.      MOVANT is the holder of a promissory note, ("MOVANT Note"), made,
6 executed, and delivered by Elaine Nicole Lewis on or about June 17, 2016 in the original

7 sum of $255,575.00. The original holder, Freedom Mortgage Corporation dba Freedom

8 Home Mortgage Corporation is the entity that brings this motion as such MOVANT has

9 standing to bring this Motion. The MOVANT Note is secured by a Deed of Trust dated

10 June 17, 2016, recorded as a lien in first position at Maricopa County Recorder's

11 Instrument No.: 20160438372, against certain real property, ("the Property"), generally

12 described as 11744 W. Villa Hermosa Lane, Sun City, AZ 85373 and legally described

13 as:

14         THE LAND HEREINAFTER REFERRED TO IS SITUATED IN THE
           CITY OF SUN CITY, COUNTY OF MARICOPA, STATE OF AZ, AND
15         IS DESCRIBED AS FOLLOWS:
16
           LOT 45, OF CROSSRIVER UNIT 5, ACCORDING TO BOOK 706 OF
17         MAPS, PAGE 39, RECORDS OF MARICOPA COUNTY, ARIZONA

18 Mortgage Electronic Registration Systems, solely as Nominee for Freedom Mortgage

19 Corporation dba Freedom Home Mortgage Corporation assigned the Deed of Trust to
     MOVANT.        True and correct copies of the MOVANT’s Note, Deed of Trust and
20
     Assignment of the Deed of Trust are attached hereto as Exhibits '1', '2', and '3'.
21
            2.      The Debtor filed a bankruptcy petition on May 15, 2018.
22
            3.      As of June 8, 2018, the outstanding post-petition payments due under the
23
   Loan are as follows:
24    Number of Payment                   Payment Dates                            Total
       Payments        Amount
25          2         $1642.27        12/01/2017 – 01/01/2018                   $3,284.54
            5         $1,654.81       02/01/2018 - 06/01/2018                   $8,274.05
26            Total Post-Petition Payments as of 06/08/2018:                    $11,558.59
27

28
                                                  -2-           CASE NO. 2:18-bk-05419-DPC
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 1
           An additional payment will come due on July 1, 2018, and on the 1st day of each
 2
     month thereafter until the Loan is paid in full. As of June 8, 2018, the estimated payoff
 3
     owing under the Note is the approximate sum of $259,876.92.
 4         4.     In accordance with the terms of the MOVANT’s Note and Deed of Trust,
 5 the MOVANT’s Note is in default and, accordingly, the entire unpaid principal balance

 6 together with interest, late charges, and attorney's fees and costs may be declared due.

 7         5.     In connection with the above-described default, MOVANT has incurred
 8 attorney's fees and costs to protect its secured interest.

 9         6.     Upon information and belief, there is no equity in the Property because the
10 lien exceeds the fair market value thereof.

11         7.     Upon information and belief, the Property is not necessary for an effective
12 reorganization.

13
                                       LEGAL ARGUMENT
14
     A.    MOVANT IS ENTITLED TO RELIEF FROM THE AUTOMATIC STAY
15         PURSUANT TO 11 U.S.C. § 362(d)(2).
16         Section 362(d)(2) provides, in pertinent part:
17
           (d) On request of a party in interest and after notice and a hearing, the court
18             shall grant relief from the stay provided under subsection (a) of this
19
               section, such as by terminating, annulling, modifying, or conditioning
               such stay-
20
                  (2) with respect to a stay of an act against property under subsection
21
                      (a) of this section, if –
22
                          (A) the debtor does not have an equity in such property; and
23

24                        (B) such property is not necessary to an effective
                          reorganization…
25
     11 U.S.C. § 362(d)(2). For purposes of Section 362(d)(2), “equity” is defined as the
26
     difference between the value of the property and all encumbrances upon it. Stewart v.
27
     Gurley, 745 F.2d 1194 (9th Cir. 1984) (emphasis added). Section 362(d)(2) reflects
28
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 1
     Congressional intent to allow creditors to immediately proceed against the property where
 2
     the debtor has no equity and it is unnecessary to the reorganization, even where the debtor
 3
     can provide adequate protection under Section 362(d)(1). In re San Clemente Estates, 5
 4 B.R. 605, 610 (Bankr.S.D.Cal. 1980) (emphasis added). Since a Chapter 7 case does not

 5 contemplate reorganization, the sole issue before the court when stay relief is sought

 6 under Section 362(d)(2) is whether the debtor has equity in the property. See e.g., Nev.

 7 Nt’l Bank v. Casbul of Nev., Inc., 22 B.R. 65, 66 (9th Cir. BAP 1982); Ramco Indus. v.

 8 Preuss (In re Preuss), 15 B.R. 896 (9th Cir. BAP 1981); In re Dollar Associates, 172

 9 B.R. 945, 953 (Bankr. N.D. Cal. 1994). In determining whether there is equity in the

10 property, all encumbrances on the property, including all costs and fees must be

11 considered. See In re Sun Valley Newspapers, Inc., 171 B.R. 71, 75 (Bankr. 9th Cir.

12 1994), citing Stewart v. Gurley, 745 F.2d 1194, 1196 (9th Cir. 1984)).

13          Movant is informed and believes, based on the Debtor’s sworn bankruptcy

14 schedules, that the fair market value of the Property is approximately $286,409.00.

15 Taking into account all of the liens encumbering the Property and the reasonable costs

16 associated with the sale of the Property, Movant maintains that Debtor’s and/or the

17 estate’s equity in the Property is as follows:
                    Fair Market Value:                                $286,409.00
18                  Less:
                    Movant's 1st Trust                                $259,876.92
19                  Deed
                    Customary cost of                                  $22,912.72
20                  sale (8% of Value)
                    Equity in the                                           $3,619.39
21                  Property:

22 Since there is little to no equity in the Property for the benefit of the bankruptcy estate

23
     and this is a Chapter 7 proceeding with no reorganization in prospect, Movant is entitled
     to relief from the automatic stay pursuant to 11 U.S.C. § 362(d)(2).
24

25 B.       MOVANT IS ENTITLED TO RELIEF FROM THE AUTOMATIC STAY
            PURSUANT TO 11 U.S.C. § 362(d)(1).
26
            Section 362(d)(1) provides, in pertinent part:
27

28
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 1          (d) On request of a party in interest and after notice and a hearing, the court
                shall grant relief from the stay provided under subsection (a) of this
 2
                section, such as by terminating, annulling, modifying, or conditioning
 3              such stay-
 4
                   (1) For cause, including the lack of adequate protection of an interest
 5                     in property of such party in interest....

 6 11 U.S.C. § 362(d)(1) (emphasis added). A lack of adequate protection is one example of

 7 “cause” for relief from stay. In re Ellis, 60 B.R. 432, 435 (9th Cir. BAP 1985). The lack

 8 of a sufficient equity cushion and/or a debtor’s failure to tender periodic cash payments
     constitutes a lack of adequate protection. See e.g., In re Mellor, 734 F.2d 1396 (9th Cir.
 9
     1984) (citation omitted).
10
            As previously discussed, Debtor has failed to tender periodic cash payments due
11
     and owing to Movant under the Note. This default constitutes cause under § 362(d)(1).
12
     See e.g., In Re Hinchliffe, 164 B.R. 45, 49 (bank. E.D. Pa. 1994). Moreover, the facts
13
     detailed herein reflect that Movant’s interest in the Property is not protected by an
14
     adequate equity cushion. Based upon the foregoing, Movant submits that Debtor is unable
15
     and/or unwilling to provide adequate protection to Movant and, thus, Movant is entitled
16
     to relief from the automatic stay pursuant to 11 U.S.C. § 362(d)(1).
17
     C.     WAIVER OF THE 14-DAY STAY
18
            Movant respectfully requests that this Court waive the 14-day stay as prescribed by
19
     bankruptcy rule 4001(a)(3). As indicated above, the Debtor (1) delinquent on the monthly
20
     payment obligation, (2) portions of the delinquent payments include payment to the
21
     property taxes and insurance that Movant must now advance, (3) there is no equity in the
22
     subject property beyond Movant’s interest, (4) the property is not necessary for effective
23
     reorganization. Accordingly, only Movant would be harmed by the imposition of the 14-
24 day stay on the order lifting the automatic stay. For this reason the stay should be waived.

25          Moreover, in the filed Statement of Intention (See Court Docket No.: 16, page 36,
26 Prt. 1), the Debtor states that they intend to surrender the property associated with this

27 motion.

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 1
                                         CONCLUSION
 2
           For all of the reasons discussed herein, Movant is entitled to relief from the
 3
     automatic stay of 11 U.S.C. § 362(a).
 4         WHEREFORE, Movant respectfully prays for an Order of this court:
 5         1.     That all stays, including but not limited to, any injunction, restraining order,
 6 and the automatic stay provided by 11 U.S.C. § 362 be terminated or modified to permit

 7 MOVANT, the successor Trustee to the Deed of Trust, or such persons as the Court may

 8 deem appropriate, to take any and all action necessary and appropriate to enforce

 9 MOVANT's interest against the Property, including, but not limited to, the right to

10 declare all sums secured by the Deed of Trust to be immediately due and payable; to

11 exercise any assignment of rents; to bring a foreclosure action in any Court of competent

12 jurisdiction; to notice, conduct or continue a judicial foreclosure or Trustee's Sale; and to

13 apply the proceeds therefrom as authorized by the Deed of Trust and applicable state law;

14         2.     That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived;

15         3.     The Trustee is hereby deemed to have abandoned the Property from the

16 estate, and, therefore, the Property no longer is property of the estate pursuant to 11

17 U.S.C. §554.

18         4.     That MOVANT be awarded adequate protection of its interest in the
     Property, more specifically that the Debtor be ordered to pay all amounts now in arrears
19
     under the Deed of Trust; maintain monthly cash payments to MOVANT equal to the
20
     regular monthly payment amount for the continued use and occupancy of the Property
21
     and to protect the interests of MOVANT; and further that MOVANT shall be granted
22
     immediate relief from the automatic stay for any failure by the Debtor to adequately
23
     protect MOVANT's interest in the Property or make the required payments;
24
           5.     That MOVANT be awarded its reasonable attorneys’ fees and costs
25
     incurred herein;
26

27

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 1
            6.     That this Court's Order herein be binding on the Debtor with respect to any
 2
     subsequent conversion to another chapter or subsequent filing of another bankruptcy
 3
     petition by the Debtor which may affect MOVANT's interest in the Property; and
 4          7.     For such other and further relief as this Court deems just and equitable.
 5

 6

 7
            RESPECTFULLY SUBMITTED this 20th day of June, 2018

 8
                                               ZIEVE, BRODNAX & STEELE, LLP

 9

10                                              /s/ Joseph J. Tirello, Jr.
                                                Joseph J. Tirello, Jr.
11
                                                Attorneys for Freedom Mortgage
12                                               Corporation

13 Original e-filed this 20th day of June,
   2018 with:
14
   United States Bankruptcy Court
15 District of Arizona

16 Copy of the foregoing, with a copy
   of the proposed Order for Relief
17
   from the Automatic Stay, mailed
18 the 20th day of June 2018 to:

19 Chapter 7 Trustee:
   DAVID A. BIRDSELL
20 216 N. Center
   Mesa, AZ 85201
21

22 Attorney for Debtor:
   HAROLD CAMPBELL
23 CAMPBELL & COOMS, P.C.
   1811 S. Alma School Rd.
24 Suite 225
   Mesa, AZ 85210
25
   Debtor:
26 ELAINE NICOLE LEWIS

27 11744 W. Villa Hermosa Lane
   Sun City, AZ 85373
28
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 1 ABRAZO
   P.O. BOX 830913
 2 Birmingham AL 35283-0913

 3 ARIZONA DEPARTMENT OF REVENUE

 4 P.O. BOX 29070
   Phoenix AZ 85038
 5
   Bank Of America
 6 Nc4-105-03-14
   Po Box 26012
 7 Greensboro NC 27410

 8 Bmw Financial Services

 9 Attn: Bankruptcy Department
   Po Box 3608
10 Dublin OH 43016

11 Chase Card Services
   Attn: Correspondence Dept
12 Po Box 15298
   Wilmington DE 19850
13

14 Citibank / Sears
   Citicorp Credit Services/Attn: Centraliz
15 Po Box 790040
   Saint Louis MO 63179
16
   Citibank/Best Buy
17 Citicorp Credit Srvs/Centralized Bankrup
   Po Box 790040
18 St. Louis MO 63179

19
   Citicards Cbna
20 Citicorp Credit Svc/Centralized Bankrupt
   Po Box 790040
21 Saint Louis MO 63179

22 Comenity Bank/Victoria Secret
   Attn: Bankruptcy
23
   Po Box 182125
24 Columbus OH 43218

25 CROSSRIVER HOMEOWNERS ASSOC.
   C/O AAM, LLC
26 1600 W. BROADWAY RD. STE. 200
   Tempe AZ 85282-1112
27

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1 DIRECTV
  P.O. BOX 78626
2 Phoenix AZ 85062

3 DR. B'S CHILDREN'S OFFICE

4 P.O. BOX 56008
  Phoenix AZ 85079-6008
5
  Freedom Mortgage Corp
6 Attn: Bankruptcy
  Po Box 489
7 Mt Laurel NJ 08054

 8 Guardian Protection Services

 9 174 THORN HILL RD
   Warrendale PA 15086
10
   INTERNAL REVENUE SERVICE
11 P.O. BOX 7346
   Philadelphia PA 19101-7346
12
   Mohela/Dept of Ed
13 633 Spirit Dr

14 Chesterfield MO 63005

15 Monterey Financial Svc
   4095 Avenida De La Plata
16 Oceanside CA 92056

17 PRA Receivables Management, LLC
   PO Box 41021
18 Norfolk, VA 23541

19
   Revenue Enterprises LLC
20 P.O. Box 441368
   Aurora CO 80044
21
   Syncb/ccdstr
22 Po Box 96060
   Orlando FL 32896
23

24 Syncb/mohawk Color Ctr
   Po Box 96060
25 Orlando FL 32896

26 Syncb/Toys R Us
   Attn: Bankruptcy
27 Po Box 965060
   Orlando FL 32896
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1
  Synchrony Bank/Gap
2 Attn: Bankruptcy
  Po Box 965060
3 Orlando FL 32896

4
  Truwest Credit Union
5 1667 N Priest Dr
  Tempe AZ 85281
6
  Visa Dept Store National Bank/Macy's
7 Attn: Bankruptcy
  Po Box 8053
8 Mason OH 45040

9
   Wells Fargo Dealer Services
10 Attn: Bankruptcy
   Po Box 19657
11 Irvine CA 92623

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